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8                              UNITED STATES DISTRICT COURT
9                            CENTRAL DISTRICT OF CALIFORNIA
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        LUIS MARQUEZ,                              Case No. CV 20-06819 AB (JCx)
12
                        Plaintiff,
13
        v.                                         ORDER DISMISSING CIVIL ACTION
14
15      RITZ DEVELOPMENT, et al.

16                      Defendants.
17
18           THE COURT having been advised by counsel that the above-entitled action has
19     been settled;
20           IT IS THEREFORE ORDERED that this action is hereby dismissed without
21     costs and without prejudice to the right, upon good cause shown within 60 days, to re-
22     open the action if settlement is not consummated. This Court retains full jurisdiction
23     over this action and this Order shall not prejudice any party to this action.

24
25     Dated: September 18, 2020        _______________________________________
26                                      ANDRÉ BIROTTE JR.
                                        UNITED STATES DISTRICT JUDGE
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